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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

                                           :
Denise Barrera,                            :
                                           :
                    Plaintiff,             :
      v.                                   :
                                             Civil Action No.: 3:10-cv-01709 (AWT)
                                           :
EOS CCA; and                               :
DOES 1-10, inclusive,                      :
                                           :
                    Defendants.            :
                                           :

                                 NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that the parties in the above-captioned case

have reached a settlement. The Plaintiff anticipates filing a notice of withdrawal

of Complaint and voluntary dismissal of this action with prejudice pursuant to

FED. R. CIV. P. 41(a) within 30 days.


Dated February 16, 2011

                                           Respectfully submitted,

                                           PLAINTIFF, Denise Barrera

                                           /s/ Sergei Lemberg

                                           Sergei Lemberg, Esq.
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                            CERTIFICATE OF SERVICE

      I hereby certify that on February 16, 2011, a true and correct copy of the
foregoing Notice of Settlement was served electronically by the U.S. District
Court for the District of Connecticut Electronic Document Filing System (ECF)
and that the document is available on the ECF system.

                                      By_/s/ Sergei Lemberg_________

                                              Sergei Lemberg
